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                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

JU’ZEMA GOLDRING,                              )
                                               )
             Plaintiff,                        )
                                               )     Civil Action File No.
      v.                                       )
                                               )     1:18-cv-1191-WMR
ATLANTA POLICE DEPARTMENT                      )
OFFICERS VLADIMIR HENRY and                    )
JUAN RESTREPO, in their individual             )
capacities,                                    )
                                               )
             Defendants.                       )

          PLAINTIFF’S MOTION TO REQUIRE DEFENDANT
       TO ORDER AND INCLUDE THE PRETRIAL CONFERENCE
            TRANSCRIPT IN THE APPELLATE RECORD

      Defendant Henry has filed an appeal of the judgment entered against him by

this Court. As part of that appeal, Henry is required to order any transcripts that are

necessary for inclusion in the appellate record. See Fed. R. App. P. 10(b).

      While Henry has ordered the trial transcript to be included in the appellate

record, he did not order the transcript of the pretrial conference. For the reasons

explained below, pursuant to Fed. R. App. P. 10(b)(3)(C), Plaintiff requests this

Court enter an order requiring Henry to order the transcript of the pretrial

conference for inclusion in the appellate record.



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       “The burden of presenting an adequate record on appeal is on the appellant.”

Reddin v. Robinson Prop. Grp. Ltd. P’ship, 239 F.3d 756, 759 (5th Cir. 2001).

And “[w]hile an appellant is not always required to provide a complete transcript

of district court proceedings, see Fed. R. App. P. 10(b), the appellant does have a

duty to provide those portions that are necessary for a meaningful review.”

Birchler v. Gehl Co., 88 F.3d 518, 519–20 (7th Cir. 1996).

       While the appellant has the burden of ensuring the appellate record allows

for meaningful review, the appellee also shares the responsibility. Rule 10(b)(3)(C)

directs an appellee seeking an order compelling the appellant to order and pay for a

transcript to “move in the district court for an order requiring the appellant to do

so.”

       Where, as here, an appellant does not order a full transcript of the

proceedings in the district court, Fed. R. App. P. 10(b)(3)(A) requires the appellant

to “file a statement of the issues that the appellant intends to present on the

appeal.”1 While Henry did not file a separate statement of the issues under Rule 10,

his civil appeal statement lists the following issues that will be raised on appeal:

“The Officer’s entitlement to qualified immunity; trial issues.”
       1
        See also Abood v. Block, 752 F.2d 548, 550 (11th Cir. 1985) (“Under Rule
10(b)(3), if appellant does not order a transcript, he/she must file a statement of
issues that are to be presented on appeal and serve such statement on opposing
counsel.”).

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      Because Plaintiff’s counsel could not determine whether the “trial issues”

would include matters that were argued and ruled upon during the pretrial

conference, Plaintiff’s counsel emailed Defendant’s counsel and asked that they

specify what trial issues they planned to raise so that Plaintiff could determine

whether the pretrial conference transcript was necessary for the appeal.

      Defendant’s counsel responded by providing some additional detail as to

what issues might be raised in the appeal, but refusing to state that the issues raised

would not involve subjects issues that were argued and ruled upon during the

pretrial conference.2

      Because Plaintiff could not determine whether the pretrial conference

transcript would bear on the issues raised in the appeal, Plaintiff filed a notice of

additional record designations in the Court of Appeals, as required by Fed. R. App.

P. 10(b)(3)(B).3 See Exhibit 1, filed March 16, 2022.

      Since that time, Henry has not ordered the transcript of the pretrial

conference, nor has Henry specified each of the “trial issues” that will be raised in
      2
         One issue that Defendant’s counsel indicated would likely be raised is the
issue of special interrogatories, which was a subject that was discussed at the
pretrial conference.
       3
         Fed. R. App. P. 10(b)(3)(B) states that “if the appellee considers it
necessary to have a transcript of other parts of the proceedings, the appellee must,
within 14 days after the service of the order or certificate and the statement of the
issues, file and serve on the appellant a designation of additional parts to be
ordered . . . .”

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the appeal, despite additional written request from Plaintiff’s counsel.4 Given

Henry’s refusal to state the issues that the appeal will be limited to, it is Henry’s

duty to order the transcript of all relevant proceedings. Ms. Goldring—who is

indigent—should not be shouldered with the financial burden of ensuring that

Henry fulfills his duty of assembling a complete appellate record.

      Plaintiff therefore moves this Court to order Henry to purchase the pretrial

conference transcript pursuant to Fed. R. App. P. 10(b)(3)(C), which states that

“unless within 14 days after service of that designation the appellant has ordered

all such parts, and has so notified the appellee, the appellee may within the

following 14 days either order the parts or move in the district court for an order

requiring the appellant to do so.”

      Based upon Henry’s refusal to specify the issues that will be raised on

appeal, and refusal to order the transcript of the pretrial proceedings, Ms. Goldring


      4
         Instead, Henry’s counsel cleverly, but wrongly, suggested that if it appeared
that the transcript was relevant, Plaintiff could order the transcript after the filing
of Henry’s opening brief and include it in Plaintiff’s appendix in the Court of
Appeals. Henry’s counsel undoubtedly knows that is not the proper procedure for
assembling the record for appeal.
       Based on Plaintiff’s experience with Henry and his counsel, it appears they
are again trying to hide the ball. Plaintiff believes there is a substantial risk that
Henry will make arguments on appeal that were waived, conceded, or ruled upon
during the pretrial conference. Plaintiff believes the reason Henry does not wish to
order the pretrial conference transcript is because it will work against him, for
example, by showing that he failed to preserve an error.

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requests this Court enter an order requiring Henry to order the transcript of the

pretrial conference as authorized by Fed. R. App. P. 10(b)(3)(C). See, e.g., Ware v.

U.S. Bank Nat’l Ass’n, No. 3:13CV387-DPJ-FKB, 2016 WL 411207, at *2 (S.D.

Miss. Feb. 2, 2016) (granting an appellee’s motion to require an appellant to order,

and pay for, a transcript of an oral argument in the district court).



      Submitted this 31st day of March, 2022.

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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing has been

prepared in compliance with Local Rule 5.1(B) in Times New Roman 14-point

typeface.

                           CERTIFICATE OF SERVICE

      I certify that I served the foreign foregoing document by filing the same with

the Clerk of using the CM/ECF system which will automatically send email

notification of such filing to all counsel of record.

      This 31st day of March, 2022.

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